CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?172141222208383-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                  1:19-cr-00297-ELR-JSA
                                                    USA v. Chrisley et al
                                                 Honorable Eleanor L. Ross

                                Minute Sheet for proceedings held In Open Court on 05/26/2022.


              TIME COURT COMMENCED: 9:10 A.M.
                                                                   COURT REPORTER: Geraldine Glover
              TIME COURT CONCLUDED: 4:45 P.M.
                                                                   CSO/DUSM: D. Mustapher; F. Hightower
              TIME IN COURT: 7:15
                                                                   DEPUTY CLERK: Michelle Beck
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Todd Chrisley Present at proceedings
                                     [2]Julie Chrisley Present at proceedings
                                     [3]Peter Tarantino Present at proceedings
         ATTORNEY(S)                Christopher Anulewicz representing Julie Chrisley & Todd Chrisley
         PRESENT:                   Johnathan DeLuca representing Todd Chrisley
                                    Stephen Friedberg representing Julie Chrisley
                                    Daniel Griffin representing Peter Tarantino
                                    Thomas Krepp representing USA
                                    Bruce Morris representing Todd Chrisley
                                    Annalise Peters representing USA
                                    John Van Why representing Peter Tarantino
         PROCEEDING
                                    Jury Trial Continued;
         CATEGORY:
         MINUTE TEXT:               Court called to order. Also present during the criminal trial were Special
                                    Agents Chip Cromer (FBI), Stephen Ryskoski (FBI) and Brock Kinsler
                                    (IRS), Investigators Bill Salinski and Denise Coxe (with the Defense) and
                                    Shannon Dyer-Vencill (Paralegal with the Government). Court addressed
                                    issues with the parties. Government witness Stephen Ryskoski was sworn
                                    and provided testimony. Government exhibit #s 907-908, 909a, 920,
                                    933-937, 940, 947, 953-957, 963, 965-971, 974, 1201, 1220-1224, 1227
                                    were ADMITTED. One hour lunch break. Government exhibit #s: 43, 44,
                                    131, 141, 146, 150-151, 191, 203, 205, 263, 343, 423, 529, 546, 902, 946,
                                    951, 973, 1002-1005,1013, 1045, 1230-1231 were ADMITTED.
                                    Government rests. Defense witness Dawn Marie O'Connor was sworn and
                                    provided testimony via the Zoom platform. Defense witnesses Lindsie


1 of 2                                                                                                              5/31/2022, 9:52 AM
CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?172141222208383-...
                      Case 1:19-cr-00297-ELR-JSA Document 218 Filed 05/26/22 Page 2 of 2

                                    Chrisley, Latonya Claytor, Christine OBrien and Bill Rawlings were
                                    sworn and provided testimony. Defense exhibit #s 156 and 157 were
                                    ADMITTED. Government exhibit #s 1300, 1301, 1400 and 1401 were
                                    ADMITTED. Jurors released for the day with the usual precautions given
                                    by the Court. Court adjourned.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at May 31,
                                    2022 at 9am. Jurors excused until the above time under the usual caution
                                    of the Court.
         TRIAL STATUS:              Evidence Entered, Continued
         EXHIBIT STATUS:            Exhibits retained by the Court to be forwarded to the Clerks Office.




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